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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA                )
                                        )          CRIMINAL ACTION NO.
        v.                              )             2:19cr365-MHT
                                        )                  (WO)
RONTRAVIOUS DONAIL GASTON               )

                                      ORDER

    This       cause        is     before    the     court    on    defendant

Rontravious Donail Gaston’s unopposed motion to continue

trial.       For the reasons set forth below, the court finds

that jury selection and trial, now set for October 19,

2020,    should        be        continued    pursuant       to    18   U.S.C.

§ 3161(h)(7).

    While the granting of a continuance is left to the

sound discretion of the trial judge, United States v.

Stitzer, 785 F.2d 1506, 1516 (11th Cir. 1986), the court

is limited by the requirements of the Speedy Trial Act,

18 U.S.C. § 3161.            The Act provides in part:

    "In any case in which a plea of not guilty is
    entered, the trial of a defendant charged in an
    information or indictment with the commission of
    an offense shall commence within seventy days
    from the filing date (and making public) of the
    information or indictment, or from the date the
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    defendant has appeared before a judicial officer
    of the court in which such charge is pending,
    whichever date last occurs."

§ 3161(c)(1).         The Act excludes from the 70-day period

any continuance based on "findings that the ends of

justice served by taking such action outweigh the best

interest of the public and the defendant in a speedy

trial."          § 3161(h)(7)(A).              In     granting       such     a

continuance, the court may consider, among other factors,

whether the failure to grant the continuance "would be

likely    to   ...      result     in   a   miscarriage       of    justice,"

§ 3161(h)(7)(B)(i),           or    “would     deny       counsel    for    the

defendant      or    the    attorney        for     the    Government       the

reasonable       time    necessary       for   effective         preparation,

taking    into      account    the      exercise    of     due    diligence,”

§ 3161(h)(7)(B)(iv).

    The court concludes that, in this case, the ends of

justice served by granting a continuance outweigh the

interest of the public and Gaston in a speedy trial.

Gaston’s    counsel        represents       that    the    parties    are    in

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negotiations to resolve this case without trial and that

Gaston believes it is in his best interest to continue

this     matter    to    allow       additional     time     for    those

negotiations.       Counsel also indicates that the current

schedule would not allow the attorney for the government

sufficient time to conclude those negotiations because

of concurrent responsibilities on another matter.                   There

is no indication of a lack of due diligence on the part

of   either    defense     counsel       or   the   attorney    for      the

government.       In addition, the government does not oppose

the requested trial continuance.              The court finds that a

continuance of the trial is necessary in order to allow

sufficient time for the parties to continue negotiating

a potential resolution to this matter.

                               ***

       Accordingly, it is ORDERED as follows:

       (1) Defendant Rontravious Donail Gaston’s unopposed

motion to continue trial (doc. no. 20) is granted.



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    (2) The jury selection and trial, now set for October

19, 2020, are reset for the term of court beginning on

December 7, 2020, at 10:00 a.m., in Courtroom 2FMJ of the

Frank M. Johnson Jr. United States Courthouse Complex,

One Church Street, Montgomery, Alabama.

    The United States Magistrate Judge shall conduct a

pretrial conference prior to the December trial term.

    DONE, this the 22nd day of September, 2020.

                                    /s/ Myron H. Thompson
                                 UNITED STATES DISTRICT JUDGE




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